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                IN THE UNITED STATES DISTRICT COURT FOR THE

                         WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                                )
                                                         )
                       Plaintiff,                        )
                                                         )        CR-20-168-G
                -vs-                                     ) No
                                                         )
CHRISTOPHER STEVEN LEDBETTER,                            )
                                                         )
                       Defendant.                        )


                                      PLBA AGREEMENT

                                          Introduction

       1.       This Plea Agreement,       in conjunction with a      Plea Supplement filed

contemporaneously under seal, contains           the entire agreement between       Defendant

Christopher Steven Ledbetter and the United States concerning Defendant's plea of guilty

in this case. No other agreement or promise exists, nor may any additional agreement be

entered into unless in   writing and signed by all parties. Any unilateral modification of this

Plea Agreement is hereby rejected by the United States. This Plea Agreement applies only

to the criminal violations described and does not apply to any civil matter or any civil

forfeiture proceeding except as specifically set forth. This Plea Agreement binds only the

United States Attorney's Office for the Western District of Oklahoma and does not bind

any other federal, state, or local prosecuting, administrative, or regulatory authority.     If
Defendant does not accept the terms of this Plea Agreement by Friday, June 19, 2020, at

12:00 pm, the   offer is withdrawn.
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                                                  Guiltv   PIea

         2.         Defendant agrees        to enter a plea of guilty to a one-count Information
charging possession of a machinegun in violation of 18 U.S.C. $ 922(oXl). To be found

guilty of violating 18 U.S.C. $ 922(o)(1), as charged in the Information, Defendant must

admit, and does admit, that on June                4, 2020, in the Westem District of        Oklahoma,

Defendant:

               a.   knowingly possessed a machinegun; and

               b.   knew, or was aware of, the essential characteristics of the firearm, which

                    made it a "machinegun" as defined by Title 18, United States Code, Section

                    92t(a).

                     Maximum Penaltv. Restitution. and Special Assessment

         3.         The maximum penalty that could be imposed as a result of this plea is ten

years of imprisonment or a fine of $250,000.00, or both such fine and imprisonment, as

well   as a   mandatory special assessment of $100.00 and         a   term of supervised release of three

years.

         4.         In addition to the punishment described above, a plea of guilty can affect

immigration status.           If   Defendant is not acrtizen of the United States, a guiltyplea may

result in deportation and removal from the United States, may prevent Defendant from ever

lawfully reentering or remaining in the United States, and may result in the denial of

naturalization. If Defendant is a naturalized citizen of the United States, a guilty plea may

result in denaturalization.




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       5.     In addition, the Court must order the payment of restitution to any victim(s)

of the offense. Pursuant to 18 U.S.C. $$ 3663(aX3) and 3663A, the parties further agree

that, as part of the sentence resulting from Defendant's plea, the Court       will   enter an order

of restitution to all victims of Defendant's relevant conduct as determined by reference to

the United States Sentencing Guidelines (the "Guidelines").

       6.     Defendant agrees to pay the special assessment due the United States to the

Office of the United States Court Clerk immediately following sentencing. Defendant

understands that any fine or restitution ordered by the Court is immediately due unless the

Court provides for payment on a date cerlain or in installments.          If the Court imposes     a


schedule for payment of restitution, Defendant agrees that such a schedule represents a

minimum payment obligation and does not preclude the United States Attorney's Office

from pursuing other means by which to satisfy Defendant's full and immediately

enforceable financial obligations. Defendant accepts a continuing obligation to pay in full,

as soon as possible, any financial obligation imposed by the          Court. Defendant further

understands that a failure to abide by the terms of any restitution schedule imposed by the

Court may result in further action by the Cour1.

       7.     For certain statutory offenses, the Court must also impose a term of

supervised release, which Defendant will begin to serve after being released from custody.

For all other offenses, the Court may impose a term of supervised release to be served

following release from custody. During the term of supervised release, Defendant will be

subject to conditions that   will include prohibitions   against violating local, state, or federal

law, reporting requirements, restrictions on travel and residence, and possible testing for


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controlled substance use.     If Defendant violates the conditions of supervised   release, the

Court may revoke Defendant's supervised release and sentence Defendant to an additional

term of imprisonment. This additional term of imprisonment would be served without

credit for the time Defendant successfully spent on supervised release. When combined,

the original term of imprisonment and any subsequent term of imprisonment the Court

imposes may exceed the statutory maximum prison term allowable for the offense.

                                       Financial Disclosures

       8.     Defendant agrees to disclose all assets in which Defendant has any interest

or over which Defendant exercises control, directly or indirectly, including those held by a

spouse, nominee, or any other third      party. Upon request by the United   States, Defendant

agrees (1) to complete     truthfully and sign under penalty of perjury a Financial Statement

of Debtor by the change-of-plea hearinE, or a date otherwise agreed to by the United States,

and (2) to provide updates    with any material changes in circumstances,    as described   in   18


U.S.C. $ 3664(k), within seven days of the event giving rise to the changes. Defendant

understands that the United States      will take Defendant's compliance with   these requests

into account when     it   makes   a   recommendation   to the Court regarding     Defendant's

acceptance of responsibility.

       9.     Defendant also expressly authorizes the United States Attorney's Office to

obtain a credit report on Defendant, in order to evaluate Defendant's ability to satisfy any

financial obligations imposed by the Court. Finally, Defendant agrees to notify the

Financial Litigation Unit ("FLU") of the United States Attorney's Office and to obtain

permission from FLU before Defendant transfers any interest in property with a value


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exceeding $1,000, owned directly, indirectly, individually, or           jointly by Defendant,

including any interest held or owned under any name, including trusts, partnerships, or

corporations. Defendant acknowledges a continuing obligation to notify and obtain

permission from       FLU for any transfers of the       above-described property      until full
satisfaction   of any restitution, fine, special assessment, or other financial       obligations

imposed by the Court.

                                           Forfeiture

        10.     Defendant agrees to forfeit to the United States voluntarily and immediately

all of Defendant's right, title, and interest in and to all assets which are subject to forfeiture

pursuant to 18 U.S.C. $ 924(d) and 28 U.S.C. $ 2461(c), including but not limited to:

                A.     A Two Rivers Arms, Avtomat Kalashnikova (AK-47) style carbine,

7.62x39 caliber, bearing serial number GV2300;

                B.     Any and all      magazine capable        of holding     7.62x39 caliber

ammunition;

                C.     Any and all T .62x39 caliber ammunition; and

               D.      Any and all destructive devices and components of              destructive

devices.

Defendant agrees that the listed assets were involved in the violation to which Defendant

is pleading guilty.

       11.     Defendant knowingly and voluntarily waives Defendant's right to a jury trial

on the forfeiture of assets. Defendant knowingly and voluntarily waives all constitutional,

legal, and equitable defenses to the forfeiture of these assets in any proceeding, and further


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waives any claim     or   defense under the Eighth Amendment           to the United States
Constitution, including any claim of excessive fine, to the forfeiture or disposition of assets

by the United States, the State of Oklahoma, or its subdivisions. Defendant knowingly and

voluntarily consents to the entry of a final order of forfeiture before sentencing as to

Defendant's interest in the assets. Forfeiture of Defendant's assets shall not be treated       as


satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the Court

may impose upon Defendant in addition to forfeiture.

       12.    Defendant knowingly and voluntarily waives any right              to   appeal or

collaterally attack any matter     in   connection with the forfeiture provided      for   herein.

Defendant waives Defendant's right to notice of any forfeiture proceeding and agrees not

to file a claim to any of the above-listed property or property involved in the underlying

criminal conduct, or otherwise to contest forfeiture in any civil, administrative, or judicial

proceeding that may be initiated. Defendant further agrees not to assist others in filing a

claim in a forfeiture proceeding or otherwise assist others who challenge a forfeiture action

involving the above-listed property or property involved in the underlying criminal

conduct. Defendant also voluntarily and immediately waives all right, title, and interest in

and to the above-listed property   in order that appropriate disposition may be made by the

appropriate federal or state law enforcement agency.

                                   Sentencing Guidelines

       13.    The parties acknowledge that 18 U.S.C. $ 3553(a) directs the Court to

consider certain factors in imposing sentence, including the Guidelines promulgated by the

United States Sentencing Commission. Consequently, although the parties recognize that


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the Guidelines are only advisory, they have entered into certain stipulations and agreements

with respect to the Guidelines. Based upon the information known to the parties on the

date that this Plea Agreement is executed, they expect to take, but are not limited to, the

following positions at sentencing:

          a.   Defendant admits that he manufactured 4 destructive devices, specifically 2

               grenades   and 2 incendiary devices (Molotov cocktails),                 without

               authorization to do so;

          b.   The United States agrees not to advocate for a victim related adjustment

               pursuant to U.S.S.G. $ 3,A.1 .4; and

          c. The parties agree Defendant should receive a two-level                 downward

               adjustment   for   Defendant's acceptance      of   responsibility, pursuant to

               U.S.S.G. $ 3E1.1(a),      if   Defendant commits no further crimes, does not

               falsely deny or frivolously contest relevant conduct, and fully complies with

               all other terms of this Plea Agreement. Further, to the extent the Court finds

               Defendant qualifies for that two-level downward adjustment and U.S.S.G.        $


               3E1.1(b) is applicable, the United States agrees to move forthe additional

               one-level downward adjustment of $ 3E1.1(b) if Defendant accepts the terms

               of this Plea Agreement by the deadline established in Paragraph     1.


      Apart from any expressed agreements and stipulations, the parties reserve the right

to advocate for, and present evidence relevant to, other Guidelines          adjustments and

sentencing factors for consideration by the United States Probation Office and the Court.




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       14.    The parties have entered into this Plea Agreement under the provisions of

Rule 11(c)(1)(A)   & (B).   Defendant acknowledges and understands that the Court is not

bound by, nor obligated to accept, these stipulations, agreements, or recommendations of

the United States or Defendant. And, even        if   the Court rejects one or more of these

stipulations, agreements, or recommendations, that fact alone would not allow Defendant

to withdraw Defendant's plea of guilty. Upon Defendant's signing of this Plea Agreement,

the United States intends to end its investigation of the allegations in the Information, as to

Defendant, except insofar as required to prepare for further hearings in this case, including

but not limited to sentencing, and to prosecute others,      if   any, involved in Defendant's

conduct. The United States agrees to end any investigation directed specifically at the

foregoing stipulations, agreements, or recommendations as            to Defendant.     However,

subject to the terms and conditions of this Plea Agreement and Plea Supplement, the United

States expressly reserves the right    to take positions that deviate from the foregoing

stipulations, agreements, or recommendations in the event that material credible evidence

requiring such a deviation is discovered during the course of its investigation after the

signing of this Plea Agreement or arises from sources independent of the United States,

including the United States Probation Office.

              Waiver of Risht to Appeal and Brine Collateral Challenee

       15.    Defendant understands that the Court will consider the factors set forth in     18


U.S.C. $ 3553(a) in determining Defendant's sentence. Defendant also understands that

the Court has jurisdiction and authority to impose any sentence within the statutory

maximum for the offense(s) to which Defendant is pleading            guilty.   Defendant further


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understands that 28 U.S.C. $ 1291 and 18 U.S.C. 53742 give Defendant the right to appeal

the judgment and sentence imposed by the Court. Acknowledging all                of this, and in

exchange   for the promises and concessions made by the United States in this              Plea

Agreement, Defendant knowingly and voluntarily waives the following rights:

              a.       Defendant waives the right to appeal Defendant's guilty plea, and any

other aspect of Defendant's conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues;

              b.       Except as stated immediately below, Defendant waives the right to

appeal Defendant's sentence as imposed by the Court, including any restitution, and the

manner   in which the    sentence is determined.       If   the sentence is above the advisory

Guidelines range determined by the Court to apply to Defendant's case, this waiver does

not include Defendant's right to appeal specifically the substantive reasonableness of

Defendant's sentence;

              c.      Defendant waives the right       to collaterally   challenge   or move to
modify (under 28 U.S.C.    5   2255,18 U.S.C. $ 3582(c)(2), or any other ground) Defendant's

conviction   or   sentence, including any restitution, except       with respect to claims of

ineffective assistance of counsel.

       Defendant acknowledges that these waivers remain                in full   effect and   are

enforceable, even   if the Court rejects one or more of the positions of the United    States or

Defendant set forth in paragraph 13.

       16.    Except as stated immediately below, the United States agrees to waive its

right under 18 U.S.C. 5 3742 to appeal the sentence imposed by the Court and the manner


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in which the sentence was determined. If the sentence is below the advisory Guidelines

range determined by the Court to apply to this case, this waiver does not include the right

of the United States to appeal specifically the substantive reasonableness of the sentence.

                       Waiver of Claim to Prevailins Partv Status

       17.    Defendant expressly acknowledges that Defendant is not a "prevailingparty"

within the meaning of 18 U.S.C. $ 30064 with respect to the count of conviction or any

other count or charge that may be dismissed pursuant to this Plea Agreement. If Defendant

is represented by retained counsel, Defendant voluntarily, knowingly, and intelligently

waives any rights Defendant may have         to   seek reasonable attorney's fees and other

litigation expenses under 18 U.S.C. $ 30064.

                         Waiver of FOIA and Privacy Act Riehts

       18.    Defendant waives allrights, whether asserted directly or by a representative,

to request of or receive from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including but not limited to

records that Defendant may seek under the Freedom of Information Act, 5 U.S.C. $ 552,

or the Privacy Act   of 1974,5 U.S.C.   $ 522a.

                                Oblieations of Defendant

       19.    Defendant shall commit no further crimes. Should Defendant commit any

fuither crimes, knowingly give false, incomplete, or misleading testimony or information,

or otherwise violate any provision of this Plea Agreement, the United States will          be

released from any obligations, agreements, or restrictions imposed on     it under this   Plea

Agreement, and the United States may prosecute Defendant for any and all of Defendant's


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federal criminal violations, including perjury and obstruction of justice. Any prosecution

within the scope of this investigation that is not time-bared by the applicable statute of

limitations on the date of the signing of this Plea Agreement may be brought against

Defendant, notwithstanding the expiration of the statute of limitations between the signing

of this Plea Agreement and the commencement of that prosecution. Defendant hereby

waives all defenses based on the statute of limitations with respect to any prosecution that

is not time-barred on the date that this Plea Agreement is signed.

       20.    The parties also recognize that    if   the Court determines Defendant    has

violated any provision of this Plea Agreement or authorizes Defendant to withdraw from

Defendant's knowing and voluntary guilty plea entered pursuant to this Plea Agreement:

(a) all written or oral statements made by Defendant to the Court or to federal or other

designated law enforcement agents, any testimony given by Defendant before a grand jury

or other tribunal, whether before or after the signing of this Plea Agreement, and any leads

from those statements or testimony, shall be admissible in evidence in any criminal

proceeding brought against Defendant; and (b) Defendant shall assert no claim under the

United States Constitution, any statute, Federal Rule of Criminal Procedure 1 1(0, Federal

Rule of Evidence 410, or any other federal rule or law that those statements or any leads

from those statements should be suppressed. Defendant knowingly and voluntarily waives

Defendant's rights described in this paragraph as of the time Defendant signs this Plea

Agreement.




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                              Oblieations of the United States

       21. If Defendant enters a plea of guilty as described above and fully meets all
obligations under this Plea Agreement, the United States Attorney's Office for the Western

District of Oklahoma will not further prosecute Defendant for any crimes related to

Defendant's participation     in the possession of (i) a Two Rivers Arms, Avtomat
Kalashnikova (AK-47) style carbine, 7.62x39 caliber, bearing serial number GV2300; (ii)

2 grenades and 2 incendiary devices (Molotov cocktails) referenced in Paragraph 13(a)

above; and (iii) the aiming of a laser pointer at an aircraft in the special aircraft jurisdiction

of the United States, during the period from March4,2020, through June 4, 2020. This

Plea Agreement does not provide any protection against prosecution            for any crime not

specifically described above.

       22.     Defendant understands that the sentence to be imposed upon Defendant is

within the sole discretion of the Court. The United States does not make any promise or

representation as to what sentence Defendant      will receive. The United    States reserves the

right to inform the United States Probation Office and the Court of the nature and extent

of Defendant's activities with respect to this case and all other activities of Defendant that

the United States deems relevant to sentencing.

                                           Signatures

       23.    By signing this Plea Agreement, Defendant acknowledges that Defendant

has discussed the terms of the Plea Agreement with Defendant's attorney and understands

and accepts those terms. Further, Defendant acknowledges that this Plea Agreement, in

conjunction with the Plea Supplement filed contemporaneously under seal, contains the


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only terms of the agreement concerning Defendant's plea of guilty in this case, and that

there are no other deals, bargains, agreements, or understandings which modify or alter

these terms.

       Dated this   /?   day of   J vh{-        2020


                                                TIMOTHY J. DOWNING
APPROVED:                                       United States Attorney

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